 

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

 

Denise P. Jackson COMPLAINT
Plaintiff,
JURY TRIAL DEMANDED
Vv. (within 10 days of service of
the defendant’s answer-
\ Rule 38(b) of the Federal

Rules of Civil Procedure
New York City Department of Education
And

United Federation Of Teachers (New York) Defendants VI T A , | AN O . J
BLOOM, My.

This action is brought for discrimination in employment pursuant to:

x
Title VII of the Civil Rights Act of 1964, as codified, 42 U.S.C. §§
2000e to 2000e-17 (amended in 1972, 1978 and by the Civil Rights
Act of 1991, Pub. L. No. 102-166) (race, color, gender, religion,
National origin),

Xx

Age Discrimination in Employment Act of 1967, as codified, 29
U.S.C. §§ 621-634 (amended in 1984, 1990, and by the Age
Discrimination in Employment Amendments of 1986, Pub. L. No.
92-592, the Civil Rights Act of 1991, Pub. L. No. 102-166).

Americans Disabilities Act of 1990, as codified, 42 U.S.C. §§
12112-12117 (amended by the Civil Rights Act of 1991, Pub. L.
No. 102-166).

  

 

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Jurisdiction is specifically conferred upon this United States District Court by the
Aforementioned statutes, as well as 28 U.S.C. $§ 1331, 1343. Jurisdiction may also be
appropriate under 42 U.S.C. §§ 1981, 1983 and 1985(3), as amended by the Civii Rights

Act of 1991, Pub. L. No. 102-166, and any related claims under New York Law.

t. Plaintiff resides at:
9728 3" Avenue, #203

Kings County, New York, 11209, 718-564-9953 or 266-2823

2. Defendants reside at, or its business is located at:
65 Court Street
Kings County, Brooklyn. New York, 11201
And
335 Adam Street, Suite 2500

Kings County, Brooklyn, New York, 11201

3. The address at which I sought employment or was employed by the defendant(s) is:

65 Court Street

Kings County, Brooklyn, New York, 11201

 
4. The discriminatory conduct of which I complain in this action includes:
Failure to hire.

 

 

4
Termination of my employment.
Failure to promote.
4
Failure to accommodate my disability.
x
Unequal terms and conditions of my employment.
x
Retaliation.
x

Other acts (specify): The UFT failed to properly follow
procedure and protocol in the grievance process, 1 had many grievances filed but they
were never properly recorded and/or addressed. The only grievance that went to step I
' where the principal and his assistant admitted culpability, was never honored and its step
I] never arranged. The article in the Amsterdam News has the principal boasting about
the very few grievances that he has received. The pay roll secretary, Anna Slade, knew
how horrible the harassment was for me until she cut out an article about how union
chapter leaders should handle harassment. I went to my chapter leader and her leader and
J got no help. The UFT also forged my signature on March 7, 2006, misrepresenting that
I was still employed and aware of the attempts to revoke my licenses and certification to
teach in New York City. Even though my probation was discontinued and I terminated on
August 29, 2005, the union, Toni Scalfani, called at 11:Slam on Sunday,10/23, 2005,
while I was in Los Angeles during the aftermath of Hurricane Katrina, to inform me that I
could return to work if I cease and desist with the complaint. Additionally, in the winter
of 2006, another union representative, Saraungan informed me that I could still return to
work if I cease and desist with the complaint. Thus the union found itself responsible for
this entire debacle from the ignoring of my cries for help in the Winter of 2005, to the
official revocation of my licenses and certification in the Winter of 2006, and tried to
undo this irreparable damage to my person and my career by offering a job that had been
denied me since August 29, 2005. And, much more importantly, the NYC DOE lied to a
U.S. Federal Agency and Agent when in early August, 2006, they informed the E.E.0.C.
and its investigator that they are not attempting to revoke my state certification. In fact,
on August 3, 2006, my licenses and certifications were ‘re-terminated’ and the UFT did
nothing to act on my behalf. Lying to a federal agency and its representatives is a
violation under Title 18, U.S.C. § 1001.

-3-

 
8.

It is my best recollection that the alleged discriminatory acts occurred on:
From October, 2004 to August, 2006.

I believe that the defendant(s):

x

is still committing these acts against me.

is not still committing these acts against me.

Defendant(s) discriminated against me based on my:
(X) race African-American
() color
(} gender/sex
(X} religion Catholic
{) national origin
(X) | age _ 51 My date of birth is June 1, 1955

() disability

The facts of my case are as follows:

Attached is a chronology of events that pertain to both the discrimination and retaliation

charges that I have brought against the New York City Department of Education and the

United Federation of Teachers. The conclusion of these events is stated in paragraph #4

of this document. The reasons for these charges are intertwined and integrally related to

the abuse and misuse of power that both the NYC DOE and the UFT indiscriminately and

recklessly participated in. They jointly as well as individually accomplished the total and

complete destruction of my career as an NYC educator.

4.

 
Both of the aforementioned entities abused the teacher observation measurement to
harass me to the point of quitting. When that did not work, they took my classes away
from me and gave them to a lesser qualified teacher who did not have the training in
neither the special program nor the time put into teaching at this school as I. I was denied
bathroom privileges even when I expressed to my supervisor that I had a medical
condition which necessitated I use the restroom frequently. I was given observations on
the days before a holiday or vacation and on Fridays, when the students were not at their
best and their minds preoccupied time off. I received an unsatisfactory rating on my 50”
birthday and was told that my discontinuance was recommended. I was so distraught until
I had to leave the morning of these events. I was stalked by my supervisor who would
stand outside the music classes that I was given when my English classes were taken
away from me and given to the lesser qualified Caucasian teacher. I was observed by the
supervisor of the music department when I was officially in the English department.
There are to be no observations of teachers when they work outside of their area. I was
not given credit for the work that my students completed in order that their work be
displayed in the yearly school forum. The credit was given to the team teacher. This
team teacher was not given the same unsatisfactory rating as I was given even though she
participated in the entire process. I was asked over and over again to transfer to another
school. The principal set up the meeting for this transfer. The principal stated that if I did
not transfer, I would continue to get U-ratings. This is a popular practice used by
principals to rid themselves of unwanted teachers, Because my supervisor often denied
me the right to a fair pre-observation, my students became very frustrated with doing

work that they were not familiar with. My supervisor would not allow my students to

5.

 
work on the Ramp-Up curriculum for which I received training. My students also
experienced success in this. Having Sp. Ed. students write a 5-paragraph essay with

no previous training, dooms both the teacher and students to failure. I was called a
horrible teacher who had no rapport with parents and/or students? The record will show
that this is absurdly false. 1 was also labeled a teacher who puts her students in harm’s
way. I have been teaching for approximately 18 years and never were my students put in
harm’s way. In the fall/2004, I received my first unsatisfactory rating. Right after this, I
received a glowing report from my principal and supervisor when the regional director
and the regional instructional supervisor applauded me for the extraordinary performar ce
that my students exhibited. From that time on, my observations were all unsatisfactory. I
was denied the ability to participate in the grievance process because my union
representative and her supervisor never properly filed all of the many grievances that I
presented. Her supervisor, Charles Turner, once accused me of harassing him because |
sent him all of the documentation of this abuse and harassment. The union never assisted
me with any resolution to the dissolution of the intense abuse and harassment that I was
taking from my employers. The principal gave me a prayer, mocking my religion and
God, when I presented him with the harassment and abuses that he and his assistant
principals were making me endure. Additionally, I was hospitalized twice as a result of
the abuse and harassment at this school. The supervisor asked that I hide all of my
student work since the teacher-the lesser qualified, Caucasian was destroying the work-
the supervisor did not reprimand this teacher. When I was hospitalized, the supervisor
gave my classes to the younger teacher who loss her classes after going out on maternity

leave. This teacher was always slotted to take my place since more teachers were hired

6.

 
than needed. My students were told that I would not be returning, this was a falsehood
that adversely affected my students to the point of calling me in tears. After one of the
many observations that I was given, the principal told me that if I brought the student
work, he would change the U rating to a satisfactory one; he did not, And, Ms. Alder,
the teacher slotted to take my place after my departure and her returning from maternity
leave, worked in the office as a clerk or whatever she decided to do. At school’s end,
when I received my final rating, the principal and his assistant only asked for a
discontinuance of my probation; however, his supervisor asked that my licenses and
certification be taken away. For almost every event that occurred, I wrote the principal
letters to which he never responded. There is an article which documents the tricks that
principals use when they want to get rid of teachers and replace them. Eventually, that
teacher finds herself out of a job. In another article, the principal bemoans not being able
to pick and choose his own staff. The exhibits and the evidence will show that the union

didn’t work for me; however, they worked extremely well for the NYC D.O.E.

9. It is my best recollection that I filed a charge with the New York State Division of
Human Rights or the New York City Commission on Human Rights regarding

regarding defendant’s alleged discriminatory conduct on:

10. Itis my best recollection that I filed a charge with the Equal Employment

Opportunity Commission regarding defendant’s alleged discriminatory conduct on:

March 29, 2006,

 
11. Since filing my charge of age discrimination with the Equal Employment
Opportunity Commission regarding defendant’s alleged discriminatory conduct,
xX 60 days or more have elapsed.

less than 60 days have elapsed.

12. The Equal Employment Opportunity Commission:

has not issued a Right to Sue letter.

__x has issued a Right to Sue letter, which
I received on October 18, 2006.

WHEREFORE, plaintiff prays that the Court grant such relief as may be appropriate,
including injunction orders, damages, costs, and attorney’s fees.

A i /
Kah Gi _ -
Plaintiff's Signature

9728 3 Avenue, #203

Dated: November 15, 2006 Brooklyn, New York 11209

7184564-9953/266-2823

 
EEQC Form 164 (398) U.S, EQUAL EMPLOYMENT OPPORTUNITY COMMISSION

 

DISMISSAL AND NOTICE OF RIGHTS

 

To: Denise Jackson From: Boston Area Office - 523
9728 3rd Avenue, #203 John F, Kennedy Fed Bidg

Brooklyn, NY 14209 Government Ctr, Room 475
. Boston, MA 02203

a

On behalf of person(s) aggrieved whose identify is
' CONFIDENTIAL (29 CFR §1601. 7(a)} i. _. . .
EEOC Charge No. EEQC Representative , Telephone No.

Edith Kessler,
§23-2006-00305 Investigator (617) 565-3206

 

THE EEOC IS CLOSING ITS FILE ON THIS CHARGE FOR THE FOLLOWING REASON:
The facts alleged in the charge fail to state a claim under any of the statutes enforced by the EEOC. -

Your allegations did not involve a disability as defined dy the Americans With Disabitities Act.
The Respondent employs less than the required number of employees or is not otherwise covered by the statutes.

Your charge was not timely filed with EEOC; in other words, you waited too jong after the date(s) of the alleged. discrimination to file your
charge : .

Having been given 30 days in which to respond, you failed to provide information, failed to appear or be available for
interviews/conferences, or otherwise failed to cooperate fo the extent that it was not possible to resolve your charge.

While reasonable efforts were made to locate you, we were not able to do so.
You were given 30 days to accept a reasonable settlement offer that affords full relief for the harm you alleged.

The EEOC issues the following determination: Based upon its investigation, the EEOC is unable to conclude that the information obtained
establishes violations of the statutes. This does not certify that the respondent is in compliance with the statutes, No finding is made as to
any other issues that might e construed as having been raised by this charge. .

The EEOC has adopted the findings of the state or local fair employment practices agency that investigated this charge.

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Other {briefly state} .
- NOTICE OF SUIT RIGHTS -

{See the aciditional information attached to this form.)

Title Vi, the Americans with Disabilities Act, and/or the Age Discrimination in Employment Act: This will be the only
notice of dismissai and of your right to sue that we will send you. You may file a lawsuit against the respondent(s} under
federal faw based on this charge in federal or state court. Your lawsuit must be filed WITHIN 90 DAYS of your receipt
of this notice; or your right to sue based on this charge will be lost. (The time limit for filing suit based on a state claim may
be different.)

Equal Pay Act (EPA): EPA suits must be filed in federal or state court within 2 years (3 years for willful violations) of the
alleged EPA underpayment. This means that backpay due for any viotations that occurred more than 2 years (3 years}
before you file suit may not be collectible.

On behalf of the Commission

AUG 3 0 2008

 

 

Enclosures(s) : obert L. Sanders, (Date Mailed)
Area Director

cc: NY CITY DEPT OF ED/ROBESON HIGH SCHOOL
clo Mary McKenna Rodriguez, Senior Counsel
52 Chambers Street, Room 308
New York, NY 10007

 
There are 201 pages in the exhibit packet.
Paragraph #4 of the complaint has exhibits A-G.

Paragraph #8 of this same complaint, begins with a
chronology labeled as exhibit 1. This chronology contains
exhibits H-X. Further, paragraph #8 in this same complaint
both continue and concludes with exhibits 2 %

Finally, the video and audio tape exhibits are ‘eed
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EXHIBIT A

 
STEP | GRIEVANCE FORM

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ce: Charles Turner
UFT - 335 Adams Street -
Brooklyn, NY 11204.

 
STEP H GRIEVANCE FORM

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NAME OF GRIEVANT: Newne P. Saelksov
TITLE - (TEACHER, GUIDANCE COUNSELOR, PARA, ETC,): Tea bey

 

 

 

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ec: Charles Turner
UFT - 335 Adams Street

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Agreement or Policy violated):

 

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cc: Charles Turner
UFT - 335 Adams Street
Brooklyn, NY 11201

 
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5/11/05

Ms. Malinowski,

to you with complaints about harassment that

For almost two years I have come
have not responded in a

Weston and Gatti have consistently perpetrated. To date, you

timely manner.
On yesterday, 5/10/05, I informed you about the latest harassment from ihe afore-
mentioned perpetrators as well as my need to grieve, particularly since a promise fom
Weston promised to do better by me

both of the above was made. Last Thursday, Mr.
since he knows how much stress L have had to endure. The very next day, be and Gatti

were back to their old tricks.
jouds your supposedly objective stance as UFT

If your allegiance to Mr. Weston c
Chapter leader, than please, let the union administrators know this so that I can receive

fair representation.
Additionally, I want this latest grievance to be put on record immediately,

contract dictates a speedy process. —

Sincerely,

Wd,

Denise P. Jackgon

CC: Charles Turner
UFT Administration
Linda Ingie, EEOC

 
5/27/05

Ms. Malinowski,

I would like for you to bring immediate charges of withholding resources against Ms.
Gatti. As she did with my public speaking class, so is she now doing with my Ramp Up
students? Yesterday she observed these students (most of whom are on the special ed.
List) successfully participating in the construction of a 5-paragraph essay and she now
wants to take the resource that they are using away? I just don’t get it! It is okay that she
and Mr. Weston want to destroy my reputation and career because the crearn always rises
to the top; however, when you deliberately refuse students the opportunity to learn and
grow, its criminal!!!

Additionally, you ask that I sign and deliver the observation report before you file the
grievance. However, this seems backward and I will not do it this way. You file the
grievance and attach the observation report before it’s delivered.

Finally, I need some feedback on the Step II grievance in writing so that | can complete
my file.

Sincerely,

— “A !
HOA by B fi if—
Mrs. D. P, Jackson / iy

PS. Please secure an early leave for me today at 1:15pm(when my last class ends)
because since yesterday, at 9:54 am., I have been sickened to my stomach.

 
May 13, 2005

Dear Ms. Malinowski,
As you promised on yesterday, please initiate step II since there was no written
response to the step I grievance.
e@ Thanking you in advance for your cooperation in this matter.

incerely, .
Mrs. D. FP, Jacksen

CC: Charles Turner, UFT
Linda Ingle, EEOC

 
3/27/05

Ms. Malinowski,

I wouid like for you to bring immediate charges of withholding resources against Ms.
Gatti. As she did with my public speaking class, so is she now doing with my Ramp Up
students? Yesterday she observed these students (most of whom are on the special ed.
List) successfully participating in the construction of a 5-paragraph essay and she now
wants to take the resource that they are using away? I just don’t get it! It is okay that she
and Mr. Weston want to destroy my reputation and career because the cream always rises
to the top; however, when you deliberately refuse students the opportunity to learn and
grow, its criminal!!!

Additionally, you ask that I sign and deliver the observation report before you file the
grievance. However, this seems backward and I will not do it this way. You file the
grievance and attach the observation report before it’s delivered.

Finally, 1 need some feedback on the Step II grievance in writing so that I can complete
my file.

Sincerely,

Kee; Loon i

plickson

PS. Please secure an early leave for me today at 1: ISpm(when my last class ends)
because since yesterday, at 9:54 am., I have been sickened to my stomach.

 
Denise P. Jackson
9728 3" Avenue # 203
Brooklyn, NY 11209

November 5, 2005

UFT

ATTN: Mr. Stew Rothstein
335 Adam Street, Suite # 2500
Brooklyn, NY 11201

Dear Mr. Rothstein:

Per our previous conversation conducted on Tuesday, November i, 2005, please be
informed that because of the time restraints and restrictions in the hearing process, ’m
requesting an immediate hearing that encompasses both the grievances and the unlawful
discontinuance.

If you have any questions please feel free to call me at (718) 564-9953.

Sincerely, t

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Nenise P. Jackson

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PAUL ROBESGN HIGH SCHOOL FOR|BUSINESS AND TECHNOLOGY
150 Albany Avenue
Brooklyn, New York 11213

Fostering the Pursuit of Excellence

 

 

Tra C. Weston, Principal ’ (718) 774-0300
MEMORANDUM

TO: Ms. Denise Jackson __

FROM: Ira C, Weston, Principal Z

DATE: June 7, 2005

RE: GRIEVANCE HEARING

Please be advised that Step 1 Grievance Hearing has been scheduled for Monday, June
13, 2005 at 10:55(pd.4) in the principal’s office.

Please see my secretary to confirm this meeting.
Thank you.

C: B. Gatti, AP-English
J. Malinowski, UFT Rep.

ICW/cgl

 
After the Madison Square Garden Rally, the Mayor and Ms. Randi | Weingarten t had a Co
meeting. There was some bargaining taking place, BUT after the Mayor: lost his Stadium as
bid, everything i is back to normal: 2 Ce be

Albany ends their sessions on.6/23. .
City is pushing for whistle blower protection.
Hiking of teacher choice money to $200 .

‘Talks are: scheduled for the following dates:
Union 6/10 atid 6/13 . ae oe
6/15 could bea date fora late bargaining se session a

City 6/24 and 6/26 |
6/30 Rebuttal date

Police arbitration ends on the last day of Tune. We would ket to ave some e-sort ofa an oS : re

= agreement before then:

Utatings are e being give to matty individuals 0 over the age eot4 40 (some believe that this gs : oS
age discrimination} a Do

   

Pd like to Thank the following indi iC
~Rallyr on eee anne en ee ee

Mr. Lopez Ms. Gilmore - “Mr. J. Rodriquez Mr Stevens Ms. Woirell
Mr. Roberts Ms. Budson Ms. Jermott ew eh arn

If I’ve forgotten to thank anyone else, please forgive me!

MORE NEWS WILL BE RELATED TO ) ALL OF YOU
ON FRIDAY, 6/17, SINCE TLLBE ATTENDING.
ANOTHER MEETING INNYC > ON WEDNESDAY oul 5 : 5 ee

 

 
EXHIBITB

 
e STEP II GRIEVANCE FORM

scHooL: (aul Pou fal DISTRICT: 73

© NAME OF GRIEVANT: Yeurse pb Cackera

 

TITLE= (TEACHER) GUIDANCE COUNSELOR, PARA, ETC):
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UFT CHAPTER LEADER OR A DESIGNATED ALTERNATE AND CHARLES
TURNER, UFT DISTRICT REPRESENTATIVE OR HIS DESIGNATED

ALTERNATE.

Signature of Grigvant

DATE FILED: ©- S-O05

 

CT:sd
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® cc: Charles Turner
UFT - 335 Adams Street
Brookiyn, NY 11201 (inctude Step | decision, if any)

 
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opportunity to indicate the time sched-
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for further information, call 1-800-936- -

'4976 and ask to speak.with an AFT
: PLUS-dedicated loan counselor.

[For more information about other _
union programs for new teachers,
visit the UFT Web site at www.uftorg »
and the Teacher Center Web site at;
www.uftte.org. Also, see the “Events” '
column on page 25. :

4

 

APRIL 28, 2008 / 35

Thee

 
EXHIBIT E

 
9728 Third Avenue
Brooklyn, NY 11209
February 28, 2006

Virginia Caputo

Office of Appeals & Reviews
7" Floor

Department of Education

65 Court Street

Brooklyn, NY 11201

Dear Ms. Caputo:

| hereby request an appeal for the following reasons(s): Check appropriate

category(ies).
fF} “U” Rating
Xx C-31

fF} €-31 and “U” Rating
[] 31 and Discontinuance/Denial of Completion of Probation

Thank you.
Very truly yours,
CO
Loncao OPA
Name: Denise Jackson
File #: 815661
School/District: Paul Robeson H.S,/D.73
Principal: tra Weston
For School Year Ending: June 28, 2006
Home Phone: 718-564-9953
ad/ \
Opeiu:153 fe
c: ~ Robert Astrowsky Cy AVY
Brooklyn Borough Representative . D - ‘ A:
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e Date: | bli. 305
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@
Virginia Caputo
Office of Appeais & Review
7” Floor
e Department of Education -

65 Court Street
Brooklyn, New York 11201

Dear Ms. Caputo:

 

 

e 1 hereby request an appeal for the following reason(s): Check appropriate
category(ies),
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ee C-31 and Discontinuance/Denial of Completion of Probation
Thank you,
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Principal LAK We e7ea/ -
For School Year Ending: W408, 2foS

Home Phone: “74 - 262 -fBS

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c Robert Astrowsky,

Brooklyn Borough Representative

 
SECTION 3.- TO BE.COMPLETED ONLY FOR PROBATIONARY PE 7REONNEL
° lA, REGONMENOAION B BY PRINCIPAL OR OTHER APPROPRIATE SUPERVISOR: To be com

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B SUPERINTENDENT'S RECOMMENDATION: To be completed by Community or responsibie Superintendent and retuned to originating unit for
employee's acknowledgement. :

 

 

 

 

 
 

 

 

 

 

 

  
 

 

 

 

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@ SECTION 4. - DOCUMENTATION é

All recommendations for discontinuance or denial of certification must be accompanied by copies of
substantiating documentation attached hereto, including, but not limited to, observation reports, letters,
time cards or time sheets, or other relevant material.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

ltem No. Date Description or Identification Key
e t 04/06/05 Letter from Ms. Gatti-ap, English A~4,53 Be4: Cel,Fi
2 05/27/05 | Observation from Superintendent's Designee . A-4,53 Bel, 3,4,5,0°
3 05/26/05 Observation from Ms. Gatti, AP~English B-1,3,4,5,6,9,1% _
C-4,5 -& D-1,2
© te OS ALF /05 Observation” front ahi CO." Neston, Feincings | Baba 145526 9579
— C-4,5 & D-l,2
3 10/28/04 Observation from Ms. Gatti. AP-Fnglish Bn¥,3.445, 659,10
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6 02/18/05 | Observation form Ira C. Weston, Principal Bris3,4,5,6,9,10
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continuation sheets, check here (}. Number of additional sheets:
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SECTIONS? -| REPORT BY-PRINGIPAIDGR OTHER APPROPRIAT

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TE SUPERVISOR;

 

COMMENTS (as checked. “NA! indicates “Not Applicabie.’}

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4A. PERSONAL AND PROFESSIONAL QUALITIES
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Professional attitude and professional growth

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PUPIL GUIDANCE AND INSTRUCTION
Effect on character and personality growth of pupils

 

Control of class

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Maintenance of wholesome classroom atmosphere

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Planning and preparation of work

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Skill in adapting instruction to individual needs and capacities

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Effective use of appropriate methods and techniques

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Skill in making class lessons interesting to pupils

 

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Extent of pupil participation in the class and school program

 

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Evidence of pupil growth in knowlédge, skilis, appreciations and attitude ;

 

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Attention to pupil health, safety and genera! welfare

 

C. CLASSROOM OR SHOP MANAGEMENT
1. Attention to physical conditions

 

Housekeeping and appearance.of room

 

Care of equipment by teacher and children : iw

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Attention to records and reporis

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Altention to routine matters

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. PARTICIPATION IN SCHOOL AND COMMUNITY ACTIVITIES
1. Maintenance of good relations with other teachers and with supervisors

 

2. Effort to establish and maintain good relationships with parents

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3.__Willingness to accept special assignments in connection with the school program

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ADDITIONAL REMARKS (edational sheets, signed and acknowledged may be attached):
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SECTION 2- PERFORMANCE EVALUATION
| OVERALL EVALUATION S, U, or O

(D for first year probation only) U
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ACKNOWLEDGMENT BY EMPLOYEE
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DATE DATE # :

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EXHIBIT F

 
     

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Call Detail (Continued} 718-564-9953
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®@ Rate Code: NPA4=NATP2000R LUM MUN W
Rate Period (Pd.}: PePeak: N-Nighis: WoWeekends
Cali To: ** = Internatianal Cath Terminated To Mobile
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d=Directory Assislance Cali; D=Data Cath, E=Extended Local Arca; F=Call Forwarding: -PTT Group event; G=2-N-1 Cath;
H=Group Mobile to Mobile Calls: =Incoming Call, K=Fax Call: M=Mobile to Mobile: O=Auto Dropped Call Credit:
P=Priorily Access Service: Q=V-VPN: R=Conyerl lo Heme; S=Shared Minutes; T=Three Way Calling: vVoice Activated Dialing;
W=Wecekends: X=Fax Mailbox: ¥=Rapid Reply
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EXHIBIT §

 
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JOEL I. KLEIN, Chancellor

Office of the Chancellor
52 Chambers Street — New York, NY 10007

 

August 3, 2006

Ms. Denise P. Jackson, File No.815661
9728 3 Avenue #203
Brooklyn, New York 11209

Dear Ms. Jackson:

I have reviewed the report of my Committee concerning the recommendation
that all your New York City Department of Education certificate(s)/license(s)
be terminated in accordance with Regulation of the Chancellor C-31.

After careful consideration of your case, I have determined to sustain the
recommendation as a consequence of file documents and testimony at the

Review.

Any and all license(s)/certificate(s) held by you are hereby terminated effective
August 30, 2005, the date your name was placed on the Invalid/Inquiry List.
Your name will remain on this list.

Goo / (¥

Andres Alonso,

Deputy Chancellor .
Teaching and Learning

(as designee for Joel I. Klein, Chancellor)

Sincerely, | [oe

AA: dt

c: -Gary Barton, Deputy Executive Director, Regional Field Services
Jacqueline Peek-Davis, L.I.S., Region 6
Nelson Serrano, Executive Director, Teachers Retirement System
Yvonne Kong, Director, Bureau of Pedagogic Compensation
Genevieve Aloia, Director, Teacher Records —
Stanley Sorogon, Advisor, United Federation of Teachers

 
THENEW YORE City DEPARTMENT OF EDUCATION
JOEL KLEEN, Chanceffor
DIVISION OF HUMAN RESOURCES

CENTER FOR RECRUITMENT AND PROFESSIONAL DEVELOPMENT
65 Court Sireet - Brooklyn, NY 11204

 

 

February 6, 2006

SS# 433082238
File O08 15661
} Position ‘TEACHER
Distinct 73
School PAUL ROBESON LS
Ms, DENISE JACKSON
9728 35RD AVENUE 203
BROOKLYN NY 11209

Dear Ms. JACKSON

Ba tee ele a) Hee ce OT OP ae gd ed an ONT Weed Mba Dace tages OE learn eipvag tn
Pivase be advised thalas of 2/6/2000 YO a Ch piaced on The New York City Depa. intent or Edication’s

fneligible/Enguiry List. This directive has been placed at the request of the department named below:

DISCONTINUANCE OF PROBATION-TERMINATED

Should you have any questions please contact Ihe department named above and/or contact your union
representative.

itis the responsibility of the district to take appropriate personnel action if you are a regular employee of the New
York City Board of Education. ff you are notan employee of the New York City Board of Education, it is the
responsibility of your direel employer to take appropriate action,

Sincerely,
Larerentce Becker

Lawrence Becker
Senior Deputy Excecutive Director, Division
of Human Resources.

CG

Kathieen Powers
Special Commissioner ot investigation
Office of Special Investigations

Monitormg Unit - 63 Court Street - Brooklyn, NY 11201 (718} 935-3260 Fax (718) 935-2035

 
JOEL I, KLEIN, Chancellor

Glona Buckery, Regional Instructional Superintendent
Rosemary Stuart, Regional Instructional Deputy Superintendent
Region Six Learning Support Center

5619 Flatlands Avenue, Brooklyn, NY 11234

Telephone: (718) 968-6100 Fax: (718) 968-6256

 

Ms. Denise P. Jackson

9728 Third Avenue #203

Brooklyn, New York 11209

Teacher of English Day High School

Dear Ms. Jackson:

THE NEW YORK ‘CUPY DEPARTMENT OF PBUEA THOS

Dr, Jacqueline Peck-Davis, Superintendent
Community School District 17

1224 Park Place Room 246

Brooktyn, New York, 11213

Tel 71221-4872 Fax: (F18)221 4326

Rmails 28s

 

July 11, 2006

File #- 815661

I have received the report from the Chancellor’s officially designated Committee of the meeting held
on February 3, 2006, pursuant to the provisions of Article 4, in connection with the secommendation
Discontinuance of Probationary Service as Teacher of English Day High School at Paul Robeson

High School at Region 6 appointed on April 1, 2003.

Tam hereby informing you that I have reaffirmed the previous actions which resulted in
Discontinuance of Probationary Service effective close of business August 29, 2005.

Véry truly youts,
A, Uf

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pag gay tiaren ion oe eee wt
Dr. Jacqueline Peek-Davis,
Community Superintendent/L.LS.
District 17 Region 6

C: Yvonne Kong, Director, Office of Pedagogic Compensation

Genevieve Aloia, Teacher Records

Nelson Sertano, Executive Director, Teacher Retirement System
Virginia Caputo, Director, Office of Appeals and Reviews

Charles Turner, UFT Representative
Ira Weston, Rating Officer

 
U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION

Boston Area Office : John F. Kennedy Federal Building
Government Center
Fourth Floor, Room 475 |
Boston, MA 02203
(617) 565-3200

 

e . TTY (617) 565-3264
FAX (617) 565-3196
AUG 3 0 2006
e

Denise Jackson
9728 3" Avenue, #203
e Brooklyn, NY 11209

Re: Charge No.523-2006-00305, Denise Jackson v NY City Dept of Ed/Robeson High School
Dear Ms. Jackson :

The EEOC has concluded its inquiry into your allegations of discrimination. Under the Equal
Employment Opportunity Commission's (EEOC) charge prioritization procedures, we focus our
resources only on those charges that are most likely to result in findings of violations of the laws
. we enforce. In accordance with these procedures, the EEOC has evaluated this charge based on
e the evidence you and the Respondent provided. The evidence fails to indicate that a violation of
the law occurred and it is not likely that additional investigation will result in our finding of a
violation.

You allege that you were discriminated against in violation of the Civil Rights Act of 1964, as

S amended, and the Age Discrimination in Employment Act on the basis of your race, religion, and
age and in retaliation for filing a previous charge in that you were discharged from your position
as teacher and Respondent is attempting to make you lose your teaching license

Respondent states license revocation for untenured/probationary teachers , as you are, is in

e accordance with Chancellor's Regulation C-31. Based on direct observation, supervision had
determined your rating as unsatisfactory and recommended Discontinuance of Probationary
Service as Teacher. This was upheld by the Chancellor's Committee. Your appeal to the
Chancellor was denied. There is no indication of retaliation. Respondent states that the Director
of the Office of Appeals and review is not attempting to revoke your state certification. Under

e C-31 it is atternpting to revoke your NYC DOE license. There is no indication of a violation of
any law enforced by EEOC,

Given the Respondent’s answer to the charge, even though you disagree with them, it is unlikely
that EEOC would find a violation if it invested additional resources. Thus, the investigation has
e been concluded, Your Determination /Notice of Right to Sue is enclosed. The Determination is
final. If you wish to pursue this charge, you may file in Federal District Court within ninety (90)

 
Page 2. #523-2006-00305

days of receipt of the enclosed Notice of Right to Sue. Otherwise, your right to sue will be lost,

eo
Sincerely,
® Edith Kessler |

Investigator

 
THe New YorK City DEPARTMENT OF EDUC ATIO?
JOEL 1. KLEIN, Chancellor

OFFICE OF APPEALS AND REVIEWS
65 Court Street - Room 717
Brooklyn, NY 11201

 

NOTICE TO APPELLANT
a
DATE: January 12, 2006
APPELLANT: Denise Jackson FILE #:815661
ADDRESS: 9728 Third Avenue SCHOOL: Paul Robeson HS
Brooklyn, NY¥ 14209 REGION: 6
RATING TYPE: Discontinuance-August 23, 2005 ADVISOR: UFT Brooklyn

in accordance with the provisions of Section 4.3.2 of the Bylaws of the New York City Depa
of Education, a review of the above by the Chancellor's Chairperson is scheduled as follow:

DATE: February 3, 2006 TIME: 9:00 A.M.
PLACE: 85 Court Street, Room 717, Brookiyn, New York 11201
TEL # (718) 935-2994

The following persons are required to attend:

Name: | Title

ira Weston Principal - Robeson HS
Barbara Gatti AP. Robeson HS
Haydiya J, Daniel-Wilkins RIS

Frank Capaldo Superintendent’s Rep

The School Administrators, listed above, are advised that they may exercise
discretion to attend the conference in person or fo participate by telephone. {
notify this office in advance of the conference if you choose to attend.) Shoul

choose the latter, you must be available to testify via speakerphone at the
following time: 9:30 a.m. in the event you are unavailable to testify at tk

appointed time, this oftice must be notified as soon as possible, The
Chairperson for the hearing can be reached at (718) 935-2991.

in the event the Appelfant plans to call witnesses, this office must be notified by the union
representative in writing prior to the hearing.

it is the intention of the Chancellor to hold these hearings as expeditiously as possible. T
please be advised that THE SCHEDULING OF THIS CONFERENCE IS NOT SUBJECT: TO CHANC
ABSENT EXTREME CIRCUMSTANCES. The Appellant should contact the union representatis

any questions regarding this case. 44

| Virginia Caputo,
Director
Office of Appeals and Reviews

 
EXHIBIT ]

 
Denise P. Jackson
(718) 266-2623- Home
(718) 564-9953- Mobile

The Following is a Chronology of Events that Pertain to Retaliation Case # 523

2006-00305.

1- April 19, 2005-

2- May 9, 2005-

3- June 14, 2005-

4- June 23, 2005

5- July 1, 2005-

6- July 28, 2005-

7- August 18, 2005-

8- August 19, 2005

9- August 29, 2005-

Filed a discrimination case with the U.S. Equal
Employment Opportunity Commission (EEOC) based
on Race, Age, and Religion.

The Discrimination case was assigned # 160-2005-02018.

Received end-of-the year observation report
recommending discontinuance of probation that was
signed by the principal, the asst. principal and the
superintendent,

An Appeal was filed with United Federation of Teachers
(UFT) regarding Discontinuance/Denial of Completion
of Probation

Received letter rescinding my summer school teaching
position.

Received letter from superintendent informing me that
my probation discontinuance will be reviewed and
considered and that J should submit a written response
no later than seven days prior te August 29, 2005,

Forwarded written response to the superintendent via
US Postai Service Express Mail.

Express Mail returned to sender marked closed and
unclaimed because this address has been taken off of
the delivery schedule at the end-of-the school year.

Received letter from superintendent stating that not
only did she receive the Express Mail package but that
she is reaffirming the Discontinuance of Probationary
Service as well as Termination.

FOR OFFICAL USE ONLY

(Public Availability to be Determined Under 5 USC § 552)

Page 1 of 3

 
® 10- Mid-October 2005-

11-Feburay 3, 2006-

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12- February 6, 2006-
@
13- March 2, 2006-
e 14- March 21, 2006-
15- March 29, 2006-
16- April 19, 2006-
®
17- April 22, 2006-
®
18- April 27, 2006-
>
°

Denise P. Jackson
(718) 266-2623- Home
(718) 564-9953- Mobile

Received telephone call from UFT informing me that I
can still teach in NYS but not at Paul Roberson High
School.

Attended discontinuance hearing with UFT where my
Union Rep. refused to participate because NYC
Department of Education threw in C-31 (Revoking of
all Teacher’s Licensees) at the last minute and illegally.
The hearing was only a Discontinuance of probation
and never a C-31. However, the hearing official told the
Union Rep. that we should have been aware of the C-31
and that we must proceed.

The NYC Department of Education placed me on an
ineligible/inquiry list which indicates that I can not
teach in NYS.

Received a forged document stating that I asked for an
appeal hearing for C-31 (Revoking all licensees).

Filed a Retaliation charge with EEOC.

Retatiation charge received and accepted by EEOC,
assigned case # 523-2006-00305.

Received letter from EEOC stating the investigator’s
name assigned to case # 523-2006-00305 as well as
informing me that the position statement from the
employer is due by May 12, 2006,

Received notice of UTF hearing for C-31/Discontinance
to be held on May 5, 2006.

Received a rescheduled notice for C-31/Discontinuance
Hearing to be held on May 19, 2006.

FOR OFFICAL USE ONLY

(Public Availability to be Determined Under 5 USC § 552)

Page 2 of 3

 
- EXHIBITH |

 
i. ayide the name of an individual at a different address whom we can coniact if we are

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Meo gn ae ~ fudrec Brtey Lavle Relationship: mother Phone: Soup +942- -AY 07.

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taclars ‘ rtify, verify or state) under penalty of perjury that the foregoing is true and

@ correct to the best of my knowledge.

‘Date: 4/ Wo cS Signature! - Manor Dike Jackeo

e Print name: “Dewise p. eeksow

Filling out this form does not constitute filing a charge

Attach copies of any documents you believe would support your discrimination claim

@ APORTANT NOTE:

{This form is covered by tha Privocy Act ol 39°74, Public Law 930579. ‘Authority for nequetting the pertonol dota and the uses therool ore given batow} ,
FORM NUMBERTITLE/DATE: EEG FORM 233, INTAKE GUESTIONNARE, ,
AUTHORIY:42 U.S.C, 2000-518}, 29 U.S.C, Section 626.
 TIPAL PURPOSE: Tha purpose of this querionnoine rs i aoticil inlarneaitcen to ele the Camunission avoid The ingke of cretieds not vain i sutsdicion.
6 . 1S PURPOSES: Information provided on thit fora wil ba used by Commission amployecs ke detenning the gaislonca of facts relavont foo decision as Ip whalhe tha Commission has iveisdiction over potential charges, complains

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cary out the Gommitsion’s [unctions. This would inchde employmard 5 practiced lows. Infotmetion may alo be diseloned to Charging Parties in coniderction of oF connection with liligatian.

 

 

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° Keep a copy of your completed questionnaire

and other documents that you send

 
EXHIBIT | ©

 
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Po ane rl

 

TRARG OF DISCRIMINATION Charge Presented To: Agency(ies) Charge No(s):

* eee |S arfcctad by the Privacy Act of 1974. Ses enclosed Privacy Act LJ FEPA
Statement and other information before completing this form.

 

 

 

| . [x] eeoc 160-2005-02018
pan. New York State Division Of Human Rights en __. aNd EEOC
ee ue eee Slate or jocal Agency, if any ee
_ 19 (indie fa Mr, Ms. Mrs.) Home Phone No. {incl Area Code) Date of Birth
| **s. Denise Jackson (718) 564-9953 06-01-1955

 

 

 

i Stroet Address City, State and ZIP Code

' y. 38 3re Avenue #203 Brooklyn, NY 11209

Ma Jed is the Employer, Labor Organization, Empioyment Agency, Apprenticeship Committee, or State or Local Government Agency That } Believe
Discrin. nated Against Me or Others. (if more than two, list under PARTICULARS dalaw.)

 

 

 

 

Name No. Employees, Membars Phone No. (include Area Code}
PAU. ROBESON HIGH SCHOOL 101 - 200

Street Address . City, State and ZIP Code _

150 Albany Avenue, Brooklyn, NY 11243 eee

Name

 

No. Employees, Membars | Phone No. (include Ara Code}

lf

 

 

 

Strest Address City, Stata and ZIP Code af

 

DISCRIMINATION BASED ON (Check appropriate box(es).) DATE(S) DISCRIMINATION TOOK PLACE

Earliest Latest
Lx] RACE [| COLOR [-] SEX [x] RELIGION [| NATIONAL ORIGIN

[] RETALIATION [x] AGE [| DISABLITY [] OTHER (Specify below.) 10-01-2004 05-02-2005
[x] CONTINUING ACTION

 

 

THE PARTICULARS ARE (if addifianai Paper is needed, attach extra sheetfs)}:

1. Starting in October 2004 and continuing to date, | have been subjected to different terms and
conditions of employment in regards to time and attendance, bathroom breaks, assignments, and
assistance. Barbara Gatti, the Assistant Principal of English is constantly stalking me and harassing me
in regards to my lesson plans, bathroom breaks and teaching ability.

2. In November 2004, | protested the treatment i was receiving and Mr. Weston handed me a religious
prayer and stated: “to whom much is given, much is required,”

3. Respondent has continued to interfere with my classroom instructions, constantly criticizing but not
providing any useful heip.

4. | believe I have been a victimof unlawful employment discrimination in violation of Title Vii of the Civil
Rights Act of 1964, as amended and the Age Discrimination in Employment Act of 1967, as amended, and
all applicable state statutes, in that because of my race/color, Black, and my age, 49, | have been
subjected to harassment and intimidation by Respondent who is trying to force my resignation and/or
termination so that they can hire Ms. Gatti’s friend.

 

i want this charge filed with both the EEOC and the State ar focal Agency, ifany. Iwill |] NOTARY & When necessary for State arid Lacat Agency Requirements
advise the agencies if | change my address or phone number and | will cooperate fully
with thei in the processing of my charge in accordance with their procedures,

 

 

| swear or affirm that | have read the above charge and that it is true to
| deciare under penaity of perjury that the above is true and correct. the best of my knowledge, information and betief,

SIGNATURE OF COMPIAINANY
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Lb. OF, ony fo Ab gene vo A. ff Le if Pr ae (marth, day, yar) Sy Cae f Php
Date Charging Party Signature 7
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ey.
EXHIBIT J

 
SECT iON.1 » REPORT BY. PRINCIPAL OR oT HER APPROPRIATE | SUPERVISOR:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

  

 

  

 

e COMMENTS (as. checked. “NA indicates “Not Applicable.) SATIS. | UNGATIS- ADDITIONAL
FACTORY | FACTORY ;COMMENTS
A. PERSONAL AND PROFESSIONAL QUALITIES vA
1. Attendance and punctuality
2. Personal aopearance i
e 3, Voice, speech and use of English uw
4. Professional altitude and prefessional growth a
5. Resourcefulness and initiative we
B. PUPIL GUIDANCE AND INSTRUCTION |
e 1. Effect on character and personality growth of pupils ye oe eee
2. Control of class a ,
3, Maintenance of wholesome classroom atmosphere . a
4. Planning and preparation of work we -
- §.  Skili in adapting instruction to individual needs and capacities Le
e 6. Effective use of appropriate methods and techniques ue
7, _ Skill ip making class lessons interesting to pupils ee 7
8. Extent of pupil participation in the class and school program
9. Evidence of pupit growth in knowlédge, skilis, appreciations and attitude ; a
10. Attention to pupii heaith, salety and general welfare y
e C. CLASSROOM OR SHOP MANAGEMENT
1. Attention to physical conditions ' oe
2. Housekeeping and appearance.of room i
3. Care of equipment by teacher and children 7 a 5
4, Attention to records and reports a
ad 5, Attention to routine matters . wn
D. . PARTICIPATION IN SCHOOL AND COMMUNITY ACTIVITIES
1. Maintenance of good relations with other teachers and with supervisors a
2. Effort to establish and maintain good relationships with parents a“
e 3.__Willingness to accept special assignments in connection with the school program be
,E. ADDITIONAL REMARKS (additional sheets, signed and acknowledged may be attached):
1 Bh uF [Af 05 Ss safe 5
p. Gar b- Gath TL. Weston (Gal
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SECTION 2 - PERFORMANCE EVALUATION

OVERALL EVALUATION §, U, or D
@ (D for first year probation only) V

 

ACKNOWLEDGMENT BY EMPLOYEE
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e | A, Recon CHOAON DY PRINCIPAL OR OTHER APPROPRIATE SUPERVISOR: To be completed and forwarded to the Community Superintendent
A f, for City Oistrict eraployees, to the responsible Supsriniendent.
fF . U0 | recommend approval lor continued probationary service. 2. K I recommend discontinuance of probationary service,
Cat fecommend certification ol completion of probation. . fy recommend deniat of certification of completion of
prodatian.
e SIGNATURE OF PRINCIPAL it ihe: DATE

 
  
 

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ns —; "
Ft SUPERINTENDENT'S RECOMMENDATION: To be completed by Community or responsible Superintendent and returned to Griginaling unit for
employee's acknowledgement. .

 

 

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° SECTION 4. - DOCUMENTATION

All recommendations for discontinuance or denial of certification must be accompanied by copies of
substantiating documentation attached hereto, including, but not limited to, observation reports, letters,
time cards or time sheets, or other relevant material.

i Rave received this report on: Psa y Ahi. a T8Ef ao 7 GONE. aT we Laat A GE

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

item No. Date Description or identification Key
e 1 04/06/05 Letter from Ms. Gatti-ap, English Anw4,53$ Bots C--,7) 2h
2 105/27/05 Observation from Superintendent's Designee A-4,5; B-1,3,4,¢
3 05/26/05 Observation from Ms. Gatti, AP~English Brd344)5,659,2% —
C-4,5 -& Dei,2
e 4 OS /Liy OF Observation fi oar ara 3 ; Heston, Ertoucinagl B.1 23 4s 3 " f : 5, 18
C-4,5 & D-1,2
5 10/28/04 | Observation from Ms. Gatti, AP=Enelisn Bu1, 3,455,659, 10
. C~-4,5 & Del ,2
6 02/18/05 Observation form Ira C. Weston, Principal B-14334,5,659,10
® * O23 5 D-1,2
® |
|
e NOTE: If space is insufficient to list all Cocumentation, listing on additional sheets may be attached. If there are such
- continuation sheets, check here CJ, Number of additional sheets:
RULES AND INSTRUCTIONS
i. For “Satisfactory” evaluations, prepare two copies: Cony 1 for the employee, copy 2 for +e schon 6 xe
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2. For adverse evaluations (U or D), Prepare four copies for distribution as follows: Ceay + fer STD Tee see Vane ate sg

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- EXHIBITK

 
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LOK MYL, 1 20F
Date: - bb. ea fs

Virginia Caputo

Office of Appeals & Review
7” Floor

Department of Education -
65 Court Street

Brooklyn, New York 11201

Dear Ms. Caputo:

| hereby request an appeal for the following reason(s): Check appropriate
category(ies),

[| “UU” Rating
C-31

C-31 and “U" Rating
i C-31 and Discontinuance/Denial of Completion of Probation

 

Thank you.

Ly ——

Name Lebee OO ecol
File # WE & /
EISF 297S&ty
School/District; JAY/ ¥£¢) EEA THEY 7: 7.6
Principal o ip: LUE EA!
“For School Year Ending: — “0G, ioe

Home Phone: LE EG ~G9B >

 

iff
c Robert Astrowsky,

Brooklyn Borough Representative

 
EXHIBIT [ |

 
“ine 30, 2005

In order to teach in summer school, one must have S ratings for the
past three years.

With a discontinuance, a teacher cannot teach in that license in that
district. However, if the teacher is put on the ineligible list, the
teacher cannot teach anywhere in New York City.

(ay feflas

 
® Jackson, Rubin

From: Sandorfy Charles [CSandor@nycboe.net]
Sent: Friday, July 01, 2005 3:13 PM
To: Jackson, Rubin
Subject: summer school

@
please be advised that the summer position for Denise Jackson( file# 915661) is hereby
rescinded due to a "u" rating

@

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EXHIBIT

 
THE NEW YORK CITY DEPARTMENT OF EDUCATION
JOEL t. KLEIN, Chancellor

 

 

Gloria Buckery, Regional Instructional Superintendent Or. Jacqueline Peek-Davis, Superintendent
Josephine Urso, Regional Instructional Deputy Superintendent Community School District 17/018

Region Six Learning Support Center 1224 Park Place Roan 246

5619 Flatlands Avenue, Brookfyn, NY 11234 Brookfyn, New York, 11213

‘Telephone: (718) 968-6100 ‘Fax; (718) 968-6256 Tel 7iQeai-4372 Fax: (718227-4896

Emait: jpeekda@nycboe.net

July 28, 2005

Ms. Denise Jackson
9728 Third Avenue
Brooklyn, New York 11209

Dear Ms. Jackson,

This is to inform you that on August 29, 2005 I will review and consider whether your services as
a probationer be discontinued as of the close of business August 29, 2005,

My consideration of your discontinuance is based on the reasons included in the documentation
you received with your rating sheet. Therefore, your rating sheet and any accompanying
documentation constitute a written statement of the reasons for my consideration of your
discontinuance. You may submit a written response to the reasons no later than seven (7) days
prior to the date of my consideration and final determination of your discontinuance.

 

   

unity Superintendent District 17

C: Mr. Ira Weston, Principal, Paul Robeson High School
Gloria Buckery, Regional Superintendent, Region 6 —
Angela Santoro, Director of Personnel, Region 6 & 7
Dr. Elizabeth Arons, Chief Executive, Division of Human Resources
Lawrence E. Becker, Deputy Executive Director, Division of Human Resources
Virginia Caputo, Director, Office of Appeals and Review
Michelle Nacht, Region 6, Special Assistant

 
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THE NEW YORK CITY DEPARTMENT OF EDUCATION
JOEL I. KLEIN, Chancellor

Gloria Buckery, Regional Instructional Supenntendent Josephine Vise, Regional Instructional Deputy Superintendent
Region Six Leaming Support Center, 5619 Flatlands Avenue, Brook{vn, WY 11234 ‘Teleplione: (718) 968-6100 = Fax; (718) 968-6256

 

Community School District Superintendents Ainstie Cumberbatch, Local Instructional Superintendint
Or, Jacqueline Peek-Davis, CSD 17, Lotal Instructional Superintendent Marianne Ferrara, Cocal Instructional Superintendent
Felicita Santiago, CSD 18, Cocal Instructional Superintendent rene Fortunate, Local Instructional Superintendent
Robert N. Sheedy, CHD 22, Local Instructional Superintendent Robert Galt, Cocal fnstructional Superintendent

Wendy Karp, Local Instructional Superintendent
Ann Otganisciak, Gocal Instructional Superintendent
Marlene Roy, Local Instructional Superintendent

August 29, 2005

Ms. Denise P. Jackson
9728 Third Avenue #203
Brooklyn, New York 11209

Social Security #: XXX-XX-XXXX
File#: 815661

Dear Ms. Denise Jackson:

This is to inform you that after reviewing all appropriate documentation and your written response
dated August 15, 2005, I reaffirm your Discontinuance of Probationary Service and Termination
effective close of business August 29, 2005. In accordance with Regulation of the Chancellor C-
31 and under the Collective Bargaining Agreement, you have the right to appeal this decision to.
the Office of Appeals and Reviews within 15 school days of the date of this letter. In addition,
please be advised that your Social Security number will be placed on the Inquiry. List.

    

AAD on

di cquetine Peek-Davis
mmunity Superintendent District 17

c: Ira Weston, Principal, Paul Robeson HS
Gloria Buckery, Regional Superintendent, Region 6
Dr. Elizabeth Arons, Chief Executive, Division of Human Resources
Theresa Europe, Deputy Counsel to the Chancellor
Lawrence E. Becker, Deputy Executive Director, Division of Human Resources
Virginia Caputo, Director, Office of Appeals and Reviews
Yvonne Kong, Director, Pedagogical Payroll
Nelson Serrano, Executive Director, Teacher’s Retirement System
Genevieve Aloia, Teacher Record
Angela Santoro, Director, Personnel, Regions 6/7
Michelle Nacht, Region 6 Special Assistant

 
EXHIBIT

 
     

Page: 15 of 31

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Ss WIRELESS Billing Cycle Date: = 10/12/05 - 41/11/05
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Call Detail (Continued) 718-564-9953
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THe New York City DEPARTMENT OF EpucATIo-
JOEL I. KLEIN, Chancellor

OFFICE OF APPEALS AND REVIEWS
65 Court Street ~ Roam 717
Brooklyn, N¥ 14204

 

NOTICE TO APPELLANT

DATE: January 12, 2006

APPELLANT: Denise Jackson FILE #:815661

ADDRESS: 9728 Third Avenue SCHOOL: Pau! Robeson HS
Brooklyn, NY 11209 REGION: 6

RATING TYPE: Discontinuance-August 29, 2005 ADVISOR: UFT Brooklyn

in accordance with the provisions of Section 4.3.2 of the Bylaws of the New York City Depa
of Education, a review of the above by the Chancellor's Chairperson is scheduled as follow:

DATE: February 3, 2006 TIME: 9:00 A.M.
PLACE: 65 Court Street, Room 717, Brooklyn, New York 11261
TEL # (718) 935-2991

The following persons are required to attend:

Name: Title.

\ra Weston | Principal - Robeson HS
Barbara Gatti oe AP- Robeson HS
Haydiya J. Daniel-Wilkins Ris

Frank Capaido , Superintendent's Rep

The School Administrators, listed above, are advised that they may exercise
discretion to attend the conference in person or to participate by telephone. {
notify this office in advance of the conference if you choose to attend.) Shouk

choose the latter, you must be available to testify via speakerphone at the
following time:___9:30 a.m. tn the event you are unavailable to testify at tk

appointed time, this office must be notified as soon as possible. The .
Chairperson for the hearing can be reached at (718) 935-2991.

In the event the Appellant plans fo call witnesses, this office must be notified by the union
representative in writing prior to the hearing.

 

It is the intention of the Chancellor to hold these hearings as expeditiously as possible. T
please be advised that THE SCHEDULING OF THIS CONFERENCE |S NOT SUBJECT TO CHANG
ABSENT EXTREME CIRCUMSTANCES. The Appellant should contact the Linion representati

any questions regarding this case. 4 o .
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er af ~ ~ Poe Lee at so we 3 oe,
Virginia Caputo, = «
Director .

Office of Appeals and Reviews

 
EXHIBITS

 
THe New York Ciry DEPARTMENT OF EDUCATION
JOEL KLEEN, Chanceffor
DIVISION OF HUMAN RESOURCES

CENTER FOR RECRUITMENT AND PROFESSIONAL DEVELOPMENT
65 Count Street - Brooklyn, NY 11201

 

 

February 6. 2006

SS# 433082238

file 0815661

Position ‘TEACHER

Distriet 73

School PAUL ROBESON HS
Ms. DENISE JACKSON
9728 IRD AVENUE 203
BROOKLYN .NY P1209

Dear Ms, JACKSON

edie tlt thagg ge 8 ae F ee Tae ge bam ante wd pees Tay nr ar cteuct fant uead ay ft” Pipleaceent tea te
Pirase lic attvisnd thatas al 2/6/2006 You dave ola piaced om The New York City Dacpiii. int of Education's

incligible/Inquiry Lis, This directive has been placed at the request of the department named below:

DISCONTINUASCE OF PROBATION-TERMINATED

Should you have any questions please contact the department named above and/or contact your union
representative.

It is the responsibility ofthe district to lake appropriate personnel action if you are a regular employee of the New
York City Board of Education, [f vow are not an employee af the New York City Board of Education, it ig the
respousibifity of your direct employer lo take appropriate action,

Sincerely,
Laevrence Becker

Lawrence Beeker
Senior Deputy Executive Director, Division
of Human Resources.

CG:

Kathleen Powers
Special Commissioner of investigation
Office of Special Investigations

Movitoring Unit - 65 Court Street ~ Brooklyn, NY 11201 (718) 935-5260 Fax (718) 935-2035

 
EXHIBIT T |

 
9728 Third Avenue
e Brooklyn, NY 11209
February 28, 2006
Virginia Caputo
© Office of Appeals & Reviews
7" Floor
Department of Education
65 Court Street
Brooklyn, NY 11201
e
Dear Ms. Caputo:
i hereby request an appeal for the following reasons(s): Check appropriate
category(ies).
e 1
[J]  “u” Rating
X C-31
[]  C-31 and “U” Rating
["] -31 and Discontinuance/Denial of Completion of Probation
° Thank you.
Very truly yours,
Ce
° Logo agro
Name: Denise Jackson
File # 815661

School/District; Paul Robeson H.S./D.73
Principal: Ira Weston

e For School Year Ending: June 28, 2006
Home Phone: 718-564-9953

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Opeiu: 153 Ay
e C: Robert Astrowsky Cy y NY
Brooklyn Borough Representative 6 5 y= \
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EEOC Form 5 (5401)

 

 

 

 

 

 

 

 

CHARGE OF DISCRIMINATION Charge Presenied’ To: Agency(iés) Charge No(s):
This form fs affected by the Privacy Act of 1974, See enclosed Privacy Act [| FEPA
Statement and other information before completing this form.

|X] EEOc 523-2006-00305

New York State Division Of Human Rights and EEOC
State or iocal Agency, # any .

Name (indicate Mr, Ms., Mrs.) Home Phone (inch Area Code) Date of Birth

Ms. Denise Jackson (718) 564-9953 {| 06-01-1955
Street Address . City, State and Z!P Code

9728 3rd Avenue, #203, Brooklyn, NY 11209

 

Named is the Employer, Labor Organization, Employment Agency, Apprenticaship Committee, or State or Local Government Agency That | Believe
Discriminated Against Me or Others. (ff more than fwo, list under PARTICULARS below.)

 

 

 

 

 

 

 

Name No. Empliayees, Members Phone No. (feclude Area Coda}
NY CITY DEPT OF ED/ROBESON HIGH SCHOOL 15 - 100
Streat Address City, State and ZIP Code
52 Chambers Street, Room 308, New York, NY 10007
Name No. Employess, Members Phone No. (include Area Code)
Street Address : City, State and ZIP Code
DISCRIMINATION BASED ON (Check appropriate boxfes).} DATE(S} DISCRIMINATION TOOK PLACE
Earliest Latast

RACE [] COLOR [ | SEX RELIGION [] NATIONAL ORIGIN 02-06-2006 02-06-2006
RETALIATION AGE [| DISABILITY [] OTHER (Specify below}

 

| CONTINUING ACTION

 

THE PARTICULARS ARE (if addifional paper is needed, atiach extra sheet(s)}):

On or about February 6, 2006, | was discharged. The school is also attempting to make me
lose my teaching license.

| believe | was discriminated against for filing a pervious charge of discrimination, in violation
of Title VIi of the Civil Rights Act of 1964, and because of my age, in violation of the Age
Discrimination in Employment Act of 1967, as amended, and ali applicable state laws.

 

! want this charge fited with both the EEOC and the State or local Agency, if any. | NOTARY — When necessary for Slate and Local Agency Requirements
will advise the agencies ifi change my address or phone number and | will cooperate
fully with them in the processing of my charge in accordance with their procedures.

 

| swear or affirm that) have read the above charge and that itis true to

 

 

| declare under penalty of perjury that the above is true and correct. the best of my knowledge, information and belief.
SIGNATURE GF COMPLAINANT

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EXHIBIT
Cp NEW VoRK CITY DEPARTMOON Fae Ep UCAEON
JOEL 1. KLEIN, Chancellor

SEIGE OF APPEALS AND REVIEWS:
65 Court Street — Room 717
Brooklyn, NY 41201

 

NOTICE TO APPELLANT

DATE: April 6, 2006

APPELLANT: Denise Jackson FILE #: 815661/ (992038)
ADDRESS: 9728 Third Avenue, #203 SCHOOL: Paul Robeson HS
Brooklyn, New York 11208 REGION: 6

RATING TYPE: C-31/DISCONTINUANCE - AUG. 30,2005 — anyisoR: UFT Brooklyn.

in accordance with the provisions of Section 4.3.2 of the Bylaws of the New York City Department
of Education, a review of the above by the Chancellors Chairperson is scheduled as follows:

DATE: May 5, 2006 oo TIME: 1:00 P.M.
PLACE: 85 Court Street, Room 717, Brooklyn, New York 14201
TEL # (718) 935-2991

The following persons are required to attend:

Name: Title

ira Weston Principal — Paul Robeson HS

Barbara Gatti Assistant Principal ~ Paul Robeson HS
Hadiya Daniel-Wilkins RIS -- Region 6

Geraldine Schowerer Superintendent's Representative

The School Administrators, listed above, are advised that they may exercise |
discretion to atterid the conference in person or to participate by telephone. (Please
notify this office in advance of the conference if you choose to attend.) Should you

choose the latter, you must be available to testify via speakerphone at the
following time: 4:00 p.m. Inthe event you are unavailable to testify at the

appointed time, this office must be notified as soon as possible. The
Chairperson for the hearing can be reached at (718) 935-2991.

In the event the Appellant plans to calll witnesses, this office must be notified by the union
representative in writing prior to the hearing.

It is the intention of the Chancellor to hold these hearings as expeditiously as possible. Therefore,
please be advised that THE SCHEDULING OF THIS CONFERENCE IS NOT SUBJECT TO CHANGE
ABSENT EXTREME CIRCUMSTANCES. The Appellant should contact the union representative with
any questions regarding this case.

       

oifector
Office of Appeals and Reviews

1 0/03dt

 
 

EXHIBIT W
Ture New Yor«K CITy DEPARTMENT OF EDUCATION
JOEL I, KLEIN, Chanceftor

OFFICE OF APPEALS AND REVIEWS
65 Court Street — Room 717
Brooklyn, NY 11204

 

NOTICE TO APPELLANT
RESCHEDULED
DATE: April 19, 2006
APPELLANT: Denise Jackson FILE #: 815664/ (992038)
ADDRESS: 9728 Third Avenue, #203 SCHOOL: Paul Robeson HS
Brooklyn, New York 11209 REGION: 6

RATING TYPE: C-34/DISCONTINUANCE ~ AUG. 30, 2005 anvisor: UFT Brooklyn

In accordance with the provisions of Section 4.3.2 of the Bylaws of the New York City Department
of Education, a review of the above by the Chancellor's Chairperson is scheduled as follows:

DATE: May 19, 2006 TIME: 1:00 P.M.
PLACE: 65 Court Street, Room 717, Brooklyn, New York 11201
TEL# (718) 935-2991

The following persons are required to attend:

Name: Title

lra Weston Principal —- Paul Robeson HS

Barbara Gatti Assistant Principal - Paul Robeson HS
Hadiya Daniel-Wilkins RIS — Region 6

Geraldine Schowerer Superintendent's Representative

The School Administrators, listed above, are advised that they may exercise
discretion to attend the conference in person or to participate by telephone. (Please
notify this office in advance of the conference if you choose to attend.) Should you
choose the latter, you must be available to testify via speakerphone at the

following time: 1:00 p.m. Inthe event you are unavailable to testify at the

appointed time, this office must be notified as soon as possible. The
Chairperson for the hearing can be reached at (718) 935-2991.

In the event the Appellant plans to call witnesses, this office must be notified by the union
representative in writing prior to the hearing.

It is the intention of the Chancellor to hold these hearings as expeditiously as possible. Therefore,
please be advised that THE SCHEDULING OF THIS CONFERENCE IS NOT SUBJECT TO CHANGE

ABSENT EXTREME CIRCUMSTANCES. The Appeliant should contact the union representative with
any questions regarding this case:

  

Office of Appeals and Reviews
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EXHIBITY _
THE NEW YORK CITy DEPARTMENT OF EDUCATION
JOEL I. KLEEN, Chanceffor

 

OFFICE OF APPEALS AND REVIEWS
65 Court Street — Room 717
Brooklyn, NY 11204

 

NOTICE TO APPELLANT
RESCHEDULED
DATE: April 19, 2086
APPELLANT: Denise Jackson FILE #: 815664/ (992038)
ADDRESS: 9728 Third Avenue, #203 SCHOOL: Paul Robeson HS
Brooklyn, New York 11209 REGION: §

RATING TYPE: C-3/DISCONTINUANCE — AUG. 30,2005 anviggr: UFT Brooklyn

in accordance with the provisions of Section 4.3.2 of the Bylaws of the New York City Department
of Education, a review of the above by the Chancellor's Chairperson is scheduled as follow.:

DATE: May 19, 2006 TIME: 1:00 P.M.

PLACE: 65 Court Street, Room 717, Brooklyn, New York 11201
TEL # (718) 935-2994

The following persons are required to attend:

Name: Title

Ira Weston Principal - Paul Robeson HS

Barbara Gatti Assistant Principal - Paul Robeson HS
Hadiya Daniel-Wilkins RIS — Region 6

Geraldine Schowerer Superintendent’s Representative

The School Administrators, listed above, are advised that they may exercise
discretion to attend the conference in person or to participate by telephone. (Please
notify this office in advance of the conference if you choose to attend.) Should you

choose the latter, you must be available to testify via Speakerphone at the
following time: 1:00 p.m, inthe event you are unavailable to testify at the
appointed time, this office must be notified as soon as possible. The

Chairperson for the hearing can be reached at (718) 935-2991.

in the event the Appellant plans to call witnesses, this office must be notified by the union
representative in writing prior to the hearing.

It is the intention of the Chancellor to hold these hearings as expeditiously as possible. Therefore,
please be advised that THE SCHEDULING OF THIS CONFERENCE IS NOT SUBJECT TO CHANGE
ABSENT EXTREME CIRCUMSTANCES. The Appellant should contact the union representative with

any questions regarding this case.
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Office of Appeals and Reviews

  
  
 

   

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